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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF NEW YORK

   ---------------------------------------------------------------x
   GILEAD SCIENCES, INC., et al.,                                 :
                                                                  :
                                         Plaintiffs,              :   Case No. 21-cv-4106-AMD-RER
                                                                  :
   v.                                                             :
                                                                  :
   SAFE CHAIN SOLUTIONS, LLC, et al.,                             :
                                                                  :
                                         Beetley.                 :
   -------------------------------------------------------------- x


                     CONSENT JUDGMENT AND PERMANENT INJUNCTION
                               AS TO JEFFREY S. BEETLEY

           On consent of Plaintiffs Gilead Sciences, Inc., Gilead Sciences Ireland UC, and Gilead

   Sciences, LLC (together, “Gilead”) and Defendant Jeffrey S. Beetley (“Beetley”), and pursuant

   to Fed. R. Civ. P. 54(b), it is hereby ORDERED, ADJUDGED, and DECREED:

           1.       Beetley and his predecessors, successors, agents, and assigns, or any other person

   in active concert and participation with him, is enjoined from importing, purchasing, selling,

   distributing, marketing, or otherwise using in commerce in the United States any Gilead Products

   (as defined below), including authentic products, or assisting, aiding or abetting any other person

   or business entity in engaging in or performing any of the activities referred to in this paragraph.

   Notwithstanding the above, nothing in this Consent Judgment shall prohibit or restrict Beetley or

   anyone else from personally using any Gilead Products or any other pharmaceutical.
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           2.     The “Gilead Products” are defined as all products manufactured by or sold by

   Gilead or its subsidiaries in the United States, including but not limited to all products bearing

   anywhere any of the Gilead Marks (as defined below), whether on the product itself or any of its

   packaging.

           3.     The Gilead Marks include the following:

    Trademark                         Registration Number              Registration Date
    GILEAD                            3251595                          June 12, 2007
                                      2656314                          December 3, 2002

    GSI                               3890252                          December 14, 2010
    BIKTARVY                          5344455                          November 28, 2017
    DESCOVY                           4876632                          December 29, 2015
    DESCOVY FOR PREP                  5912591                          November 19, 2019
    9883                              5467392                          May 15, 2018
                                      5636131                          December 25, 2018

                                      5906177                          November 12, 2019

                                      5030567                          August 30, 2016

                                      5154303                          March 7, 2017

    TRUVADA                           2915213                          December 28, 2004
    GENVOYA                           4797730                          August 25, 2015
    ATRIPLA                           3276743                          August 7, 2007
    RANEXA                            3094007                          May 16, 2006
    VOSEVI                            5259592                          August 8, 2017
    STRIBILD                          4263613                          December 25, 2012
                                      6031751                          April 14, 2020

    SOVALDI                           4468665                          January 21, 2014
                                      5018106                          August 9, 2016

    7977                              4585257                          August 12, 2014

           4.     Nothing in this Consent Judgment and Permanent Injunction is or shall be construed

   as an admission, express or implied, by any party, including an admission of any liability,

   wrongdoing, or violation of law.

           5.     In addition to other remedies, including damages, for contempt of this Permanent

   Injunction, in the event of breach or violation of the terms of this Permanent Injunction by Beetley,

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   or his predecessors, successors, agents, and assigns, or any other person in active concert and

   participation with him, Gilead is entitled to a preliminary and permanent injunction against the

   breaching conduct solely upon a showing of likelihood of success of establishing that such a breach

   occurred.

          6.      This Consent Judgment is entered pursuant to Fed. R. Civ. P. 58, and this action is

   hereby dismissed against Beetley only, without costs or attorneys’ fees, save that this District Court

   shall retain jurisdiction over this action, including over implementation of, or disputes arising out

   of, this Consent Judgment or the settlement of this action with regard to Beetley. A prevailing

   party, in addition to any award of damages or injunctive relief, shall be entitled to an award of

   actual attorneys’ fees in any such dispute.




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   DATED:        March 25, 2022

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   Attorneys for Plaintiffs
   Gilead Sciences, Inc., et al.

   IT IS SO ORDERED

    s/Ann M. Donnelly
   _________________________________
   HON. ANN M. DONNELLY, U.S.D.J.
                   April 15 2022
   Dated: ________________,




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